Case 1: 05- -C\/- 01086- .]DT- STA Document 5 Filed 05/26/05 Page 1 of 2 Page|D 3

IN THE UNITED sTATEs DISTRICT COURT 05 “'*Y?j’ ` -
FoR THE wEsTERN olsTRICT oF TENNESSEE /§;y;,

 

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) v¢v%$‘ /
Plaintiff, ) r;<;/;"= ,
)
v. ) No. 1-05-1086-T/AN
)
THE GOODYEAR TIRE & RUBBER CO., )
)
Defendant. )

 

ORDER GRANTING EXTENSION OF TIME TO ANSWER
OR OTHERWISE RESPOND

 

For the reasons set forth in Defendant’s Motion for Extension of Time to Answer or
Otherwise Respond, and for good cause shown, the time for Defendant to answer or otherwise

respond to the Complaint is hereby extended to and including June 30, 2005.

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United States Bistr-iet Judge

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Date: 2004

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with Rule 58 and,'or,?B (a) FFICP on M §

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 1:05-CV-01086 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

